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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


 JOE ANDREW SALAZAR,                              §
                                                  §
                                                  §
                Plaintiff,
                                                  §
                                                  §
 v.                                               §   CIVIL ACTION NO. 2:20-CV-00004-JRG
                                                  §
 AT&T MOBILITY LLC, SPRINT UNITED
                                                  §
 MANAGEMENT COMPANY, T-MOBILE                     §
 USA INC, CELLCO PARTNERSHIP, INC.                §
 D/B/A VERIZON WIRELESS, INC.,                    §
                                                  §
                Defendants.                       §

             ORDER ON PRETRIAL MOTIONS AND MOTIONS IN LIMINE
The Court held a Pretrial Conference in the above-captioned matter on Tuesday, May 11, 2021

regarding pending pretrial motions and motions in limine (“MILs”) filed by Plaintiff Joe Andrew

Salazar (“Plaintiff” or “Salazar”), Defendants AT&T Mobility LLC, Sprint United Management

Company, T-Mobile USA Inc., Cellco Partnership, Inc. D/B/A Verizon Wireless, Inc.

(collectively, “Defendants”), and Intervenor-Defendants HTC Corp. and HTC America, Inc.

(collectively, “Intervenors”) (together with Salazar, the “parties”). (Dkt. Nos. 27, 138, 143, 144,

145, 146, 147, 152, 191, 192, 193, 202). This Order memorializes the Court’s rulings on the

aforementioned pretrial motions and MILs as announced from the bench into the record, including

additional instructions given to the Parties. While this Order summarizes the Court’s rulings and

directives as announced into the record during the pretrial hearing, this Order in no way limits or

constrains such rulings from the bench. Accordingly, it is hereby ORDERED as follows:
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                                     PRETRIAL MOTIONS

1.     Salazar’s Motion for Partial Summary Judgment That 35 U.S.C. § 287 is Not
       Applicable in This Case (Dkt. No. 144).

       The parties agreed to waive argument and rest on their written submissions with respect to

this motion. (Dkt. No. 216 at 15:9–25). The motion was therefore CARRIED and will be

addressed by separate Order.

2.     Defendants’ Joint Motion to Dismiss Under Rule 12(b)(6) (Dkt. No. 27).

       The motion was DENIED. (Dkt. No. 216 at 36:19–37:13).

       The Court not was not persuaded that non-party preclusion applies given that Salazar has

not shown the requisite level of alignment between HTC Corp.—the defendant in previous

litigation with Salazar—and Defendants in this action.

       In analyzing whether privity exists between a party and non-party to previous litigation,

“[f]ederal courts have deemed three types of relationships sufficiently close to justify preclusion:

(1) a non-party who has succeeded to a party’s interest in property, (2) a non-party who controlled

the original suit, and (3) a non-party whose interests were represented adequately by a party in the

original suit.” Texas v. Dep’t of Labor, 929 F.3d 205, 211 (5th Cir. 2019) (citations and internal

quotations omitted). “[A] party’s representation of a nonparty is ‘adequate’ for preclusion purposes

only if, at a minimum: (1) The interests of the nonparty and her representative are aligned . . . and

(2) either the party understood herself to be acting in a representative capacity or the original court

took care to protect the nonparty’s interests.” Taylor v. Sturgell, 553 U.S. 880, 900 (2008).

       The Court is not persuaded that Defendants have shown that HTC Corp. adequately

represented their interests in the previous litigation. HTC Corp.—a Taiwan-based entity—

defended the previous infringement claims brought by Salazar by arguing, in part, but as a

substantial part of its defense, that none of its activities which could qualify as infringement under
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35 U.S.C. § 271 took place in the United States. See Dkt. No. 40 at 11–13. This defense is not now

available to Defendants, who are American-based entities conducting business in the United

States. Accordingly, it does not appear that Defendants’ “interests were represented adequately by

a party in the original suit.” Dep’t of Labor, 929 F.3d at 211. Considering the relevant litigation

history, and construing Salazar’s Complaint in the light most favorable to Salazar, Heinze v. Tesco

Corp., 971 F.3d 475, 479 (5th Cir. 2020), the Court finds that Salazar’s Complaint is not barred

by res judicata.

       With respect to Defendants’ argument that the Kessler doctrine bars Salazar’s claims,

Defendants have not cited any case holding that the Kessler doctrine should be applied to pre-

judgment acts of infringement. Instead, the case law has consistently limited the Kessler doctrine’s

applicability to post-judgment acts of infringement, where traditional preclusion doctrines may be

inapplicable. See SimpleAir, Inc. v. Google LLC, 884 F.3d 1160, 1170 (Fed. Cir. 2018) (“[T]he

Kessler doctrine just fills a particular temporal gap between preclusion doctrines … it does not

displace them.”). Here, Salazar can only accuse acts of infringement occurring before the judgment

in the previous litigation, as the asserted patent expired before that judgment was entered. See Dkt.

No. 40 at 19. Accordingly, the Court holds that the Kessler doctrine is inapplicable in this context.

3.     Defendants’ and Intervenors’ Motion for Summary Judgment Under the Kessler
       Doctrine and Res Judicata (Dkt. No. 146).

       The motion was DENIED for the reasons discussed with respect to Defendants’ Joint

Motion to Dismiss Under Rule 12(b)(6) (Dkt. No. 27).

       The parties agreed to withdraw Plaintiff’s Motion to Strike or, Alternatively, to Deny as

Moot Defendant’s and Intervenors’ Motion for Summary Judgment Under the Kessler Doctrine

and Res Judicata (Dkt. No. 152). Accordingly, the motion was DENIED-AS-MOOT. (Dkt. No.

216 at 16:1–21).


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       Defendants withdrew their opposition to Plaintiff Joe Andrew Salazar’s Oppose Motion

for Leave to Extend Deadline to Respond to Defendants’ and Intervenors’ Motion for Summary

Judgment Under the Kessler Doctrine and Res Judicata (Dkt. No. 202). Accordingly, the motion

was GRANTED as unopposed. (Dkt. No. 216 at 16:1–21).

       Accordingly, the Court finds that Plaintiff’s Motion for Extension of Time to File Response

to Defendants’ and Intervenors’ Motion for Summary Judgment Under the Kessler Doctrine and

Res Judicata (Dkt. No. 155) should be and hereby is DENIED-AS-MOOT.

4.     Defendants’ and Intervenors’ Motion for Summary Judgment of Non-Infringement
       of the Asserted Claims of the ’467 Patent (Dkt. No. 143).

       The motion was DENIED. (Dkt. No. 49:20-25). The Court is persuaded that there exist

material questions of fact that prohibit summary judgment under Fed. R. Civ. P. 56, both as to

literal infringement and infringement under the doctrine of equivalents.

5.     Defendants’ and Intervenors’ Daubert Motion to Exclude Portions of the Expert
       Report and Proffered Testimony of Plaintiff’s Expert Witness, Dr. Oded Gottesman
       (Dkt. No. 145).

       The parties agreed to waive argument and rest on their written submissions with respect to

this motion. (Dkt. No. 216 at 50:1–2). The motion was therefore CARRIED and will be addressed

by separate Order.


6.     Defendants’ and Intervenors’ Motion to Exclude Certain Testimony of Mr. Dennis
       Giuffré (Dkt. No. 147).

       The parties agreed to waive argument and rest on their written submissions with respect to

this motion. (Dkt. No. 216 at 50:1–2). The motion was therefore CARRIED and will be addressed

by separate Order.




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7.     Defendants’ Motion to Sever and Stay Claims (Dkt. No. 138).

       The motion was DENIED as originally presented. (Dkt. No. 216 at 57:3-14). The Court

will CARRY the sua sponte suggestion to modify the requested relief raised by the Court and

discussed with the parties at the pretrial hearing, and the Court will address the same by separate

Order. (See id. at 54:4–55:5).

8.     Defendants’ and Intervenors’ Motion to Compel Responses to Their Interrogatories
       and Requests for Admission (Dkt. No. 133).

       The parties represented that they resolved the underlying disputes presented in this motion.

Accordingly, the motion was DENIED-AS-MOOT. (Dkt. No. 216 at 60:1–13).




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                                    MOTIONS IN LIMINE

       It is ORDERED that the Parties, their witnesses, and counsel shall not raise, discuss, or

argue the following before the venire panel or the jury without prior leave of the Court:

I.     AGREED MOTIONS IN LIMINE (Dkt. No. 192)


       The following MILs are GRANTED-AS-AGREED and apply to all parties:


Agreed MIL 1          References to any party’s use or alleged use of jury studies, jury
                      consultants, focus group studies, or shadow juries.


Agreed MIL 2          References concerning settlement discussions in this case.


Agreed MIL 3          References concerning the (1) actual or estimated costs incurred in
                      prosecution or defense of this lawsuit or (2) the financing of this lawsuit
                      by either party.


Agreed MIL 4          References concerning the personal net worth of any witness or of any
                      owner (direct or indirect), shareholder, director, officer, and/or
                      employee of Defendants or Intervenors, or their affiliates.


Agreed MIL 5          Privilege, confidentiality, and advice of counsel defense.


Agreed MIL 6          Withdrawn infringement allegations.


Agreed MIL 7          Previous motions and rulings.


Agreed MIL 8          References comparing the accused products to preferred embodiments.


Agreed MIL 9          Practicing the prior art.

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Agreed MIL 10     No assertions that the presumption of validity is inapplicable.


Agreed MIL 11     101 defenses.



Agreed MIL 12     Post-grant proceedings.


Agreed MIL 13     Disparaging the PTO.


Agreed MIL 14     References concerning any matters that were not timely and properly
                  disclosed pursuant to the Local Patent Rules, the Federal Rules of Civil
                  Procedure, the Court’s Docket Control Order, or other Court Orders.


Agreed MIL 15     Filing of MILs.


Agreed MIL 16     Arguments and reasoning in the Court’s Claim Construction Order.


Agreed MIL 17     Size of law firms.


Agreed MIL 18     References to discovery objections.


Agreed MIL 19     References regarding comparisons between the accused products and
                  other patents or patent applications.


Agreed MIL 20     Indefiniteness defenses.


Agreed MIL 21     Equitable issues.


Agreed MIL 22     Misrepresentations or withholdings from the USPTO.



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Agreed MIL 23                Choice of venue.


Agreed MIL 24                Prosecution history.


Agreed MIL 25                Court’s rulings regarding expert testimony.


Agreed MIL 26                Derogatory terms (e.g., “patent troll”)


II.        PLAINTIFF’S MOTIONS IN LIMINE (Dkt. No. 193)


           The following MILs are GRANTED-AS-AGREED (see Dkt. No. 217-1):


Plaintiff’s MIL 1            Any statement, argument, testimony or evidence that references or
                             mentions Mr. Salazar’s previous case against HTC Corp. (Salazar v.
                             HTC, Corp., 2:16-cv-01096-JRG)1; any reference or suggestion that Mr.
                             Salazar had any prior litigation against HTC Corp.; and all references,
                             argument, testimony or evidence from the previous case, including but
                             not limited to deposition and trial testimony from that case.

Plaintiff’s MIL 2            Any statement, argument, testimony (including impeachment
                             testimony), or evidence based on the Court’s claim construction in
                             Salazar v. HTC Corp., 2:16-cv-01096-JRG.

           With respect to Plaintiff’s MILs 1 and 2, no party will introduce any reference, evidence

testimony (including expert testimony), or argument regarding, or inquire about or elicit any

testimony concerning, unrelated litigations or settlements thereof involving the other party,

including current or former affiliate entities.

With regard to Salazar I:

       •   No reference to Salazar I or the fact that Salazar previously sued HTC Corp. or asserted
           his patent against the accused phones.



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    Referred to herein as “Salazar I.”

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   •     No impeachment testimony where the purported inconsistency is based on the Court’s
         new claim construction.

   •     Impeachment testimony to be presented generically; i.e. “you testified under oath on this
         date that …..” (without reference to prior case).

   •     Counsel will ask to approach if counsel determines impeachment is proper and the
         impeachment will (1) reference Salazar I, so the parties and Court can confer to avoid the
         reference; or (2) will involve the testimony of a different expert from Salazar I so the
         Court can decide whether such testimony is admissible.


Plaintiff’s MIL 3       Any statement, argument, testimony, or evidence that references,
                        discloses, or mentions products, and the very existence of such
                        products, sold by Mr. Salazar or Innovative Intelcom Industries.

Plaintiff’s MIL 4       Any statement, argument, testimony, or evidence regarding Mr.
                        Salazar’s alleged failure to mark products he sold.

         With respect to Plaintiff’s MILs 3 and 4, the parties agree that these motions in limine

rise/fall with Salazar’s motion for summary judgment on marking, Dkt. No. 144. If the Court

grants Salazar’s motion, then these MILs will be granted as agreed. If the Court denies Salazar’s

motion, these MILs will be denied.


Plaintiff’s MIL 5       Any statement, argument, testimony, or evidence that references or
                        mentions that Mr. Salazar’s damages analysis is incomplete,
                        inaccurate, or in any way deficient based on his inability to access
                        financial records not produced by Defendants or produced in an
                        incomplete and/or deficient manner.

         No party will use purported deficiencies in party discovery to criticize or allege deficiencies

in an expert’s analysis. This agreement does not apply to failures to obtain evidence from a third

party.




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 Plaintiff’s MIL 6      Any statement, argument, testimony, or evidence indicating or
                        suggesting that the case lacks merit or has less value because the patent-
                        at-issue is expired.

        Evidence, statements, and arguments related to the ’467 Patent being expired will be

 limited in scope to Georgia-Pacific Factor No. 7.



 Plaintiff’s MIL 7      Any statement, argument, testimony, or evidence regarding any alleged
                        delay in Mr. Salazar filing suit against Defendants.

        No reference, evidence, or argument about the effect of delay other than that the timing of

 Salazar’s suit or purported delay in filing suit is indicative of his perceived value of the invention.

 The timing of Salazar’s suit may be admissible as relevant to Defendants’ marking defense subject

 to the Court’s ruling on Salazar’s motion for summary judgment on marking, Dkt. No. 144.


 Plaintiff’s MIL 8      Any statement, argument, testimony, or evidence regarding or
                        referring to any experts’ previous and/or current retention by counsel
                        for Mr. Salazar.

        As communicated by the parties to the Court, Plaintiff has withdrawn this MIL.



 III.   DEFENDANTS’ MOTIONS IN LIMINE (Dkt. No. 191)


        The following MILs are GRANTED-AS-AGREED (see Dkt. No. 217-1):


 Defendants’ MIL 1      Any Argument Or Testimony, Including From Experts, Regarding
                        Unrelated Litigations Or Settlements Thereof Involving The Other
                        Party

        No party will introduce any reference, evidence testimony (including expert testimony), or

 argument regarding, or inquire about or elicit any testimony concerning, unrelated litigations or

 settlements thereof involving the other party, including current or former affiliate entities.


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 With regard to Salazar I:

    •   No reference to Salazar I or the fact that Salazar previously sued HTC Corp. or asserted
        his patent against the accused phones.

    •   No impeachment testimony where the purported inconsistency is based on the Court’s
        new claim construction.

    •   Impeachment testimony to be presented generically; i.e. “you testified under oath on this
        date that …..” (without reference to prior case).

    •   Counsel will ask to approach if counsel determines impeachment is proper and the
        impeachment will (1) reference Salazar I, so the parties and Court can confer to avoid the
        reference; or (2) will involve the testimony of a different expert from Salazar I so the
        Court can decide whether such testimony is admissible.

 Defendants’ MIL 2     Any Argument Or Testimony, Including From Experts, Concerning
                       Defendants’ and Intervenors’ Wealth, Total Net Worth, Total Profits,
                       And/or Ability To Pay Damages
        No reference, testimony or argument regarding Defendants’ or Intervenors’ wealth, net

 worth, total profits and/or ability to pay damages.


 Defendants’ MIL 3     Any Argument Or Testimony, Including From Experts, Disparaging
                       HTC Corp.’s Foreign Incorporation Or Nationality
        No disparaging references to the nationality of HTC or its employees, including, but not

 limited to, that (1) Plaintiff must refer to a person or entity from Taiwan as “Taiwanese” rather

 than “Chinese,” and (2) Plaintiff may not refer to Taiwan as the Republic of China.


 Defendants’ MIL 4     Any Argument Or Testimony, Including From Experts, Concerning
                       Disputed Issues Or Alleged Deficiencies In Defendants’ And
                       Intervenors’ Discovery Conduct
        No party will use purported deficiencies in party discovery to criticize or allege deficiencies

 in an expert’s analysis. This does not apply to failures to obtain evidence from a third party.




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    .
 Defendants’ MIL 5     Any Argument Or Testimony, Including From Experts, Regarding
                       Defendants’ Or Intervenors’ Sales Prices Or Total Revenues
                       Attributable To Intervenor-Branded Products.
        Salazar will not introduce Defendants’ total service revenues, HTC’s total revenue, or the

 sale price of the accused phones. Additionally, Defendants will not criticize the accuracy of the

 damages expert’s mathematical calculations. However, nothing herein shall limit the ability of

 Defendants to critique the damages expert’s methodology or conclusions.

        So ORDERED and SIGNED this 21st day of May, 2021.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE




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